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                            UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


    IN RE NATIONAL PRESCRIPTION                         MDL No. 2804
    OPIATE LITIGATION
                                                        Case No. 17-MD-2804
    This document relates to:
                                                        Judge Dan Aaron Polster
    All actions


           [PROPOSED] ORDER TO ESTABLISH QUALIFIED SETTLEMENT FUNDS,
         APPOINT PANEL OF COMMON BENEFIT AND CONTINGENCY FEE FUNDS
     ARBITERS, APPROVE FEE FUND ALLOCATION AND DISTRIBUTION PROCESS,
           AND APPROVE COMMON BENEFIT COST PAYMENT AND ASSESSMENT


          The Plaintiffs’ Executive Committee (“PEC”) appointed by this Court, on behalf of the

subdivisions that have reached resolution (the “Settlement Agreements” 1) with Defendants CVS,2

Walgreens, and Walmart3(CVS, Walgreens and Walmart together, the “Settling Defendants”),

have moved for entry of an Order: (i) approving the establishment, under this Court’s continuing

jurisdiction, of three Qualified Settlement Funds, which are more specifically described in Exhibit

R of the Settlement Agreement and which shall be called for each of the Settling Defendants, the

CVS Pharmacy Attorney Fee Fund, the Walgreens Attorney Fee Fund, and the Walmart Attorney

Fee Fund (hereinafter referred to collectively as the “Attorney Fee Funds” or the “Funds”); (ii)


1
  Any capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in
the Settlement Agreements, including those terms defined in Exhibit R: “Agreement on Attorneys’ Fees,
Costs, and Expenses” of the Settlement Agreements (“Exhibit R”). For the avoidance of doubt, the term
“Settlement Agreements” shall refer to the Settlement Agreements between and among the Settling States,
CVS, Walgreens, Walmart, and Participating Subdivisions (as those terms are defined therein),
respectively, inclusive of all exhibits (including Exhibit R) thereof (the “CVS, Walgreens, and Walmart
Settlement Agreements”, respectively).
2
  “CVS” means CVS Health Corporation and CVS Pharmacy, Inc. and all of their past and present direct
and indirect parents and subsidiaries.
3
  “Walmart” means Walmart Inc. and all of their past and present direct and indirect parents and subsidiaries.
As to Walmart, Inc. these proposed Orders will not be effective until the Walmart Settlement Agreement
becomes effective.
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appointing an Administrator for the Funds (the “Administrator”); (iii) determining that the three

Funds, including their two constituent funds described below (the “Common Benefit Funds” and

the “Contingency Fee Funds”), each constitute single qualified settlement funds within the meaning

of section 468B of the Internal Revenue Code of 1986, as amended, and Treasury Regulation

Sections l.468B-l, et seq.; (iv) approving a payments into the agreed upon MDL Expense Fund; (v)

approving a common benefit assessment of 7.5% on any cases described in Section VII. below

against any of the Settling Defendants, which shall supersede the payment obligations of all prior

orders (ECF 4428 and ECF 3794) approving common benefit assessments against Settling

Defendants; (vi) establishing, as a separate qualified settlement fund within the meaning of section

468B of the Internal Revenue Code of 1986, as amended, and Treasury Regulation Sections l.468B-

l, et seq., a Cost and Expense Fund (as defined below in Section V and as more fully described in

Exhibit R Section II), and appointing an administrator for the Cost and Expense Fund (the “Cost

and Expense Fund Administrator”). The Order is intended to facilitate and be wholly consistent

with Exhibit R of the Settlement Agreements, and in the event of any inconsistency between this

Order and Exhibit R, Exhibit R shall control.


  I.   Creation of the Attorney Fee Funds Under MDL Court Jurisdiction including
       Common Benefit Funds and Contingency Fee Funds

       Pursuant to the terms of the Settlement Agreements, the Settling Defendants have agreed,

if the conditions to making such payments set forth in the Settlement Agreements are met, to make

payments into their respective Attorney Fee Funds, as more specifically described in Exhibit R of

the Settlement Agreements, under the continuing jurisdiction of this Court, that will be used to pay

attorneys’ fees that have been incurred in furtherance of the opioid litigation related to these

defendants, including, but not limited to, work done and fees incurred with respect to opioid


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litigation generally and against other defendants. The Attorney Fee Fund for each Settling

Defendant will consist of the following separate sub-funds, which shall together constitute a single

qualified settlement fund for each Settling Defendant, and will remain subject to the continuing

and exclusive jurisdiction of this Court:

              The Common Benefit Funds, which shall be 60% of the Fund, and which shall hold
               and disburse funds intended to cover common benefit work as defined in previous
               Orders of the Court; and

              The Contingency Fee Funds, which shall be 40% of the Fund, and which shall hold
               and disburse funds intended to compensate attorneys engaged in Qualifying
               Representations of Participating Litigating Subdivisions that meet the criteria set
               forth in Exhibit R of the Settlement Agreements, in lieu of enforcement of
               contingency fee contracts with such Subdivisions.

              Eligibility of counsel for the Common Benefit Funds and the Contingency Fee
               Funds shall be determined under the terms of the Exhibit R.


       Subject to the conditions for making payments set forth in the each of the Settling

Defendants Settlement Agreement, which allow for certain reductions, suspensions, or offsets, the

Settling Defendants shall make the Payments as follows:

        CVS will pay a maximum total of $530,615,944.00 (the “CVS Total Payment”) into the

CVS Attorney Fee Fund over a period of five years starting June 30, 2023. The CVS Total Payment

shall be prorated in accordance with the CVS Settlement Agreement and its Exhibit R (Exhibit A

hereto). Should any provision of the CVS Settlement Agreement or Exhibit R thereto pertaining

to reductions, refunds, suspensions, or offsets be triggered, the appropriate amounts shall revert

from the CVS Attorney Fee Fund to CVS or reduce the CVS Total Payment consistent with the

provisions in the CVS Settlement Agreement and Exhibit R.

       Walgreens will pay a maximum total of $593,732,518.00 (the “Walgreens Total Payment”)

into the Walgreens Attorney Fee Fund over a period of five years. The Walgreens Total Payment



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shall be prorated in accordance with the Walgreens Settlement Agreement and its Exhibit R

(Exhibit B hereto). Should any provision of the Walgreens Settlement Agreement pertaining to

relevant reductions, suspensions, or offsets be triggered, the appropriate amounts shall revert from

the Walgreens Attorney Fee Fund to Walgreens or reduce the Walgreens Total Payment consistent

with the provisions in the Walgreens Settlement Agreement, including Exhibit R.

       Walmart will pay a maximum total of $297,720,376.93 (the “Walmart Total Payment”)

into the Walmart Attorney Fee Fund within fifteen (15) calendar days of the Effective Date of the

Walmart Agreement, subject to reductions set forth in Exhibit R Section II.A.2, Section II.C. and

Section II.H.. The Walmart Total Payment shall be prorated in accordance with the Walmart

Settlement Agreement and its Exhibit R (Exhibit C hereto). Should any provision of the Walmart

Settlement Agreement pertaining to relevant reductions, and/or refunds, be triggered, the

appropriate amounts shall revert from the Walmart Attorney Fee Fund to Walmart or reduce the

Walmart Total Payment consistent with the provisions in the Walmart Settlement Agreement,

including Exhibit R

       The obligations of the Settling Defendants in the Settlement Agreements arise out of the

claims and case brought by the Settling States and the Participating Subdivisions related to the

alleged past, present, and future financial, societal, and public nuisance harms and related

expenditures arising out of the alleged misuse and abuse of opioid products that have allegedly

been caused by the Settling Defendants. The Settling Defendants deny these allegations.

       For the avoidance of doubt, the CVS Total Payment is separate and distinct from the Total

Remediation Amount (as defined by the CVS Settlement Agreement), which is compensatory

restitution (within the meaning of 26 U.S.C. Section 162(f)(2)(A)) paid as damages by the Settling




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Defendants for the Alleged Harms allegedly suffered by the Settling States and Participating

Subdivisions.

          For the avoidance of doubt, the Walgreens Total Payment is separate and distinct from the

Compensatory Restitution Amount (as defined by the Walgreens Settlement Agreement), which is

compensatory restitution (within the meaning of 26 U.S.C. Section 162(f)(2)(A)) paid as damages

by the Settling Defendants for the Alleged Harms allegedly suffered by the Settling States.

          For the avoidance of doubt, the Walmart Total Payment is separate and distinct from the

Total Remediation Amount (as defined by the Walmart Settlement Agreement), which is

compensatory restitution (within the meaning of 26 U.S.C. Section 162(f)(2)(A)) paid as damages

by the Settling Defendants for the Alleged Harms allegedly suffered by the Settling States and

Participating Subdivisions.

 II.      Common Benefit Funds and Contingency Fee Funds

       Amounts in the Funds shall be allocated to the Common Benefit Funds and the Contingency

Fee Funds as set forth in the Exhibit R to the Settlement Agreements. The payments are to be

made in the amounts, on the yearly schedule, and subject to the adjustments set forth in Exhibit R.

Each year, 60% of each payment shall be deposited into the Common Benefit Funds and 40% of

each payment shall be deposited into the Contingency Fee Funds. Should any condition set forth

in the Settlement Agreements for making payments into the Funds or MDL Expense Fund go

unmet, the Settling Defendants will be under no obligation to make any payment related to the

condition.

          The Court hereby appoints, as the movants request, the three experienced jurists/special

masters appointed under MDL Docket No. 3828 as Fee Panel Arbiters, to oversee and allocate the

Common Benefit Funds and the Contingency Fee Funds. The Court appoints David R. Cohen as



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Administrator to oversee administration and administrative costs of the Attorney Fee Funds. In

the interest of transparency, proportionality, and efficiency, the Court appoints the same Arbiters

to oversee the disbursement of the Common Benefit Funds as the Contingency Fee Funds.

       With respect to the Contingency Fee Funds, the Arbiters are directed to establish and

implement procedures for the distribution of the Contingency Fee Funds consistent with the terms

of Exhibit R of the Settlement Agreements attached hereto. As part of that process, counsel

submitting fee petitions for each Participating Litigating Subdivision will represent they waive

enforcement rights against the Participating Subdivision clients of all contracts entered into in

conjunction with the Qualifying Representation prior to applying for attorneys’ fees or costs, under

the Contingency Fee Funds. If a client is a non-Settling or non-Participating Client, counsel

submitting fee petitions does not waive enforcement rights. To the extent a State allocation

agreement or process provides for a fee fund, such agreements shall be enforceable consistent with

State law and the Settlement Agreements.

       Awards of fees from the Contingency Fee Funds shall be available to Attorneys with

Qualifying Representations of Participating Litigating Subdivisions eligible to receive an

allocation under the Settlement Agreements, and shall be made applying the Mathematical Model

attached as Exhibit A to the Exhibit R (the “Mathematical Model”). The collection of the data and

calculations for the Mathematical Model has been a cooperative effort among private counsel for

a large number of Litigating Subdivisions. The Fee Panel is encouraged to continue working with

those counsel in application of the Mathematical Model. The Fee Panel shall oversee the

application of the Mathematical Model and resolve any questions or disputes concerning the

eligibility of an Attorney to participate as required in Sections II.G-H of Exhibit R to each of the

CVS, Walgreens and Walmart Settlement Agreements. The Fee Panel is empowered to hear



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disputes concerning and ensure the accuracy of the mathematical calculation. As to awards from

the Contingency Fee Funds, there shall be no right of appeal. Any appeal of an award of the Fee

Panel from the Common Benefit Funds will be made to this Court and be reviewed under an abuse

of discretion standard.

       The Court hereby: (1) authorizes the Arbiters to commence start-up work, which shall be

compensated as set forth below; (2) directs the Arbiters, to set up a process to receive requests for

common benefit fees and set forth the required materials to be provided to them in connection with

fee petitions; (3) directs the Arbiters, once the conditions necessary for the Settlement Agreements

to come into effect are fulfilled, to make a preliminary recommendation on the distribution of

common benefit fees; and (4) directs the Arbiters to address any requests to be heard regarding

that preliminary recommendation by attorneys that sought common benefit fees and make a final

recommendation to the Court. This Court will make the final determination of an approved

distribution of any common benefit funds. No distributions shall be made from the Contingency

Fee Funds or the Common Benefit Funds except through the process established by this Order and

by the Arbiters pursuant to this Order.

       All payments into the Funds, and any interest thereon, will be held by the Funds until

disbursed by the Arbiters or the Court, or by the Administrator or Trustee acting under the Court’s

supervision, in accordance with the terms of the Settlement Agreements and any escrow or trust

agreement governing the Funds. No parties or their counsel, including the Participating

Subdivisions and their counsel, shall be considered to be in constructive receipt, as determined

under federal income tax principles, of any amounts held by the Funds.

       The Funds shall be structured and operated in a manner so that they qualify as “qualified

settlement funds” as described in Treasury Regulations Section 1.468B-1, and shall remain subject



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to the continuing jurisdiction of this Court. The Contingency Fee Funds and the Common Benefit

Funds for each settling Defendant shall be established as sub-funds of their respective Funds that

together constitute a single qualified settlement fund for each Settling Defendant.

       The Court appoints David R. Cohen, who is one of the Court-appointed Arbiters to serve

as Trustee and as the Administrator (the “Administrator/Trustee”) of these qualified settlement

funds for purposes of Treasury Regulations Section l.468B-2(k)(3), and who shall be responsible

for making any necessary tax filings and payments of taxes, estimated taxes, and associated interest

and penalties, if any, by the Funds. The Administrator/Trustee shall be responsible for responding

to any questions from, or audits regarding such taxes by the Internal Revenue Service or any state

or local tax authority, as well as questions from the Department of Labor. The

Administrator/Trustee shall also be responsible for complying with all tax information reporting

and withholding requirements with respect to payments made by the Funds, as well as paying any

associated interest and penalties. All such tax, interest, and penalty payments and all expenses and

costs incurred in connection with taxation of the Funds (including, without limitation, expenses of

tax attorneys and accountants) shall be paid from the Funds and shall be considered administrative

costs of the settlement.

       With respect to work undertaken by the Arbiters or Administrator/Trustee prior to the

fulfillment of the conditions precedent of the Settlement Agreements, such costs shall be paid for

such expenditures from the first interest generated by the Funds, or from the Funds.

       No bond shall be required. The Funds shall be held under this Court’s ongoing jurisdiction,

at a financial institution selected by the Administrator/Trustee in his discretion and approved by

the Court. All amounts deposited in the Funds shall be invested conservatively in a manner

designed to assure timely availability of funds, protection of principal and avoidance of



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concentration risk, consistent with the limitations set forth in the Exhibit R. 4 The services of the

Administrator/Trustee and the Court-appointed members of the Fee Panel, and any vendors and

services they determine to be necessary and appropriate to conduct and complete their work, shall

be paid or reimbursed from the interest earned or from the Fund.

        The Administrator/Trustee will obtain a Federal Taxpayer Identification Number for each

Fund upon entry of an order by this Court establishing the Funds. The Administrator/Trustee shall

be authorized, upon final distribution of all monies paid into the Funds to take appropriate steps to

wind down the Funds and thereafter be discharged from any further responsibility with respect to

the Funds.

III.    Appointment of Fee Panel

        The Court hereby appoints David R. Cohen, Randi S. Ellis, and Hon. David R. Herndon

(ret.) to serve as Arbiters on the Fee Panel, charged with the fair, equitable and reasonable

allocation of awards from the Common Benefit Funds and Contingency Fee Funds pursuant to the

terms and provisions of the Settlement Agreements.

        David R. Cohen is well known to this Court, and intimately familiar with the issues of the

Opioids litigation, both generally and as they relate to the claims against the Settling Defendants.

He has extensive experience as a special master for federal judges in other MDLs as well, and as

a mediator and arbitrator.

        Randi S. Ellis has served as a court-appointed mediator, special master, or neutral in over

two dozen major MDLs, class actions, and mass torts. This service to numerous courts includes



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  Sections II.E.6 of Exhibit R to the CVS, Walgreens, and Walmart Settlement Agreements each provide
that Pre-Effective Date costs associated with the Cost and Expense Fund Administrator shall be paid from
the “Cost Fund”. Further, Sections II.E.8 of Exhibit R to the CVS, Walgreens, and Walmart Settlement
Agreements each provide that the Cost and Expense Fund Administrator shall have the authority to
aggregate, allocate and share among separate costs funds created by this MDL.

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the allocation of settlement proceeds among claimants, determining the reasonableness of

attorneys’ fees, and common benefit fund determinations.

         Hon. David R. Herndon (ret.) retired recently from 27 years as a judge, including service

as an MDL Transferee Judge in major MDLs and other federal complex cases that were

successfully resolved through mass tort or class action settlements.

         Each of these Arbiters has worked with thousands of lawyers from across the country in

MDL and complex litigation context, and is thoroughly familiar with the interests and issues

involved in the fair and reasonable consideration and allocation of common benefit and

contingency fees.

IV.      Description of the Attorney Fee Fund Conditions and Criteria

         The Court hereby directs the Fee Panel to administer the Funds in accordance with the

Settlement Agreements (including the Exhibits R), the principles of transparency and equity, and

the following requirements and conditions for any attorney seeking an award from the Attorney

Fee Funds:

      A. Amounts disbursed from the Funds are available only to Attorneys engaged in Qualifying
         Representations. No Attorney may apply for or recover from the Funds any costs incurred
         or fees arising from representing a Non-Settling State or a Non-Participating Subdivision.
         Absent agreement otherwise entered between the MDL 2804 Co-Leads and the Tribal
         Leadership Counsel, or Order of the Court, an Attorney representing a Tribe that is a
         Participating Tribe in the Tribal Settlement Agreement with a Settling Defendant is eligible
         to participate in the Common Benefit Funds and may seek to participate in the Subdivision
         Cost and Expense Fund but they shall not be eligible to participate in the Contingency Fee
         Funds under Exhibit R.

      B. Attorneys requesting disbursement from the Funds must disclose to the Fee Panel prior to
         any award from the Funds: (1) any and all attorneys’ fees, including referral fees, expenses
         paid, promises for payment, or any other Fee Entitlement to any applicant in any opioid
         litigation; (2) any payment, expectation of payment, or opportunity to participate in a State
         Back-Stop Agreement or any other agreement regarding payment of fees; and (3) any right
         to payment from any other fund created under either of the Settlement Agreements or from
         funds paid under either of them.



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   C. In order to receive an award from the Funds, prior to applying for such award, an Attorney
      must: (1) expressly waive enforcement against every Participating Litigating Subdivision
      client of all Fee Entitlements (other than under State Back-Stop Agreements) arising out
      of or related to any or all Qualifying Representations of any Participating Litigating
      Subdivision (such waiver shall not preclude the Attorney from submitting such Fee
      Entitlements to the Fee Panel as a factor for consideration in allocating payments from the
      Funds or in connection with a State Back-Stop Agreement; for the avoidance of doubt, no
      Attorney may recover fees under Exhibit R to the Settlement Agreements unless the
      Attorney expressly agrees not to enforce Fee Entitlements as to each and every
      Participating Litigating Subdivision represented by that Attorney, but such Attorneys may
      participate in and receive funds from a State Back-Stop Agreement); (2) provide notice to
      the applicable client(s) of the waiver described in subsection (1) and an affirmation of the
      aforementioned waiver; (3) represent that s/he has no present intent to represent or
      participate in the representation of any Later Litigating Subdivision or any Releasor with
      respect to Released Claims against Released Entities; (4) represent that s/he has not and
      will not engage in any advertising or solicitation related to Released Claims against
      Released Entities where such advertising or solicitation relates to a representation of a
      Subdivision eligible to be a Participating Subdivision after the Reference Date (or, for the
      Walmart Settlement Agreement, the Threshold Subdivision Participation Date) unless the
      Attorney is recommending participation in the Agreement; (5) represent that s/he will not
      charge or accept any referral fees for any Released Claims brought against Released
      Entities by Later Litigating Subdivisions or Later Litigating States; (6) not have and must
      represent that s/he does not have any Fee Entitlement related to a Later Litigating
      Subdivision or Later Litigating State; (7) fully disclose the participation, or the anticipation
      of participation, in any agreement with a Settling State or Participating Subdivision
      concerning fees arising out of or related to the Settling Defendants’ Settlement
      Agreements, including any fees paid or anticipated to be paid from any State Back-Stop
      Agreement; (8) identify for the Fee Panel whether s/he utilized state litigation work product
      or MDL work product, including, but not limited to, ARCOS data, document repositories,
      experts developed in the MDL, trial transcripts, and deposition transcripts, as well as
      whether s/he signed the MDL participation agreement; and (9) represent and affirm that,
      having exercised his/her independent judgment, s/he believes the Settlement Agreements
      to be fair and will make or has made best efforts to recommend the Settlement Agreements
      to his/her Subdivision clients in Settling States having exercised his/her independent
      judgment in the best interest of each client individually before determining whether to
      recommend joining the settlement.

   D. In order to continue receiving awards from the Funds, an attorney must provide an annual
      certification that he or she continues to meet the eligibility requirements spelled out above
      in Section IV (C), and in Exhibit R of the Settling Defendants’ Settlement Agreements.

   E. Attorneys applying to the Funds knowingly and expressly agree to be bound by the
      decisions of the Fee Panel and waive the ability to assert the lack or enforceability of the
      allocation reached through the procedures outlined in Exhibit R of the Settlement
      Agreements.



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         Nothing in the Agreements shall preclude an applicant from applying for compensation

from multiple fee funds and cost funds. There are currently at least the following funds: the

Contingency Fee Fund established under MDL Docket No. 3828, the Common Benefit Fund

established under MDL Docket No. 3828, the Costs Fund established under MDL Docket No.

3828, multiple State Back-Stop Agreements, and State Outside Counsel Manufacturers Fee Funds.

It is anticipated there could be additional fee and costs funds established.Applying to one or

multiple fee and cost funds does not preclude an applicant from applying to additional fee and cost

funds if the specific eligibility criteria are met. In applying to the funds that are overseen by the

Arbiters as described herein, in an effort to provide full transparency, applicants must disclose any

intent and expectation to apply to other funds even if not overseen by the Arbiters, as set forth in

Exhibit R of the Settlement Agreements.

         In making their determinations, the Arbiters are hereby charged to give consideration to

the Johnson5 factors, as these have been applied and interpreted by the federal courts with reference

to common benefit and other court-awarded fees, as well as the following factors, which may be

applied and given relative weight in the Arbiters’ collective discretion:

      A. the applicant’s contemporaneously recorded time and labor dedicated to Qualifying
         Representations along with the applicant’s financial commitment to such Qualifying
         Representations. Claimed “time” will not be automatically accepted by the Fee Panel but
         will be critically reviewed and given substantially more weight and consideration if such
         time was subject to the audit process described in any Pretrial Order(s) governing the
         collection of common benefit time;

      B. the novelty, time, and complexity of the Qualifying Representations;

      C. the skill requisite to perform legal services properly and the undesirability of the case;

      D. the preclusion of other employment by the applicant due to time dedicated to Qualifying
         Representations;



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    Johnson v. Georgia Highway Express, Inc., 488 F. 2d 714, 717-19 (5th Cir.1974).

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   E. the “common benefit,” if any alleged to have been conferred by the applicant and whether
      such common benefit work product by that applicant was used by others in parallel
      litigations against Released Entities whether within or outside of the MDL, provided that
      any applicant claiming that s/he substantially benefitted cases other than those in which
      s/he entered an appearance as counsel must substantiate such claims by proffering factual
      support, such as proper supporting affidavits or other documents as determined by the Fee
      Panel with input from applicants for Participating Litigating Subdivisions;

   F. any “common detriment,” as set forth in Section II.C.4 of Exhibit R to the Settlement
      Agreements;

   G. any contingent fee agreements or other Fee Entitlements with Participating Subdivisions,
      enforcement of which, except for State Back-Stop Agreements, are waived in conjunction
      with the application, the nature and extent of any work for those Participating Subdivisions,
      whether such Participating Subdivisions actively litigated and, if so, the nature and
      procedural history of such case(s);

   H. the experience, reputation, and ability of the applicant;

   I. whether the applicant’s clients brought claims against the Released Entities;

   J. the status of discovery in the cases primarily handled by the applicant;

   K. the nature of any work by the applicant on “bellwether” cases or cases that were similarly
      active in litigation;

   L. any pressure points successfully exerted by the applicant in cases against the Settling
      Defendants or any risk for Settling Defendants created by the applicant in cases against
      them;

   M. any risk for defendants created by applicants in cases against the Settling Defendants;

   N. successful and unsuccessful motion practice in cases worked on by the applicant;

   O. the date of filing of any cases filed by the applicant;

   P. obtaining consolidation of the litigation in the applicant’s jurisdiction;

   Q. the number and population of entities represented by the applicant and the fees that would
      have been awarded under the extinguished contingent fee agreements;

   R. whether the applicants’ clients brought claims against the Settling Defendants;

   S. whether the applicant has had a leadership role in the litigation, whether in state or federal
      court;



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   T. whether the applicant has had a leadership role in any negotiations aimed at resolving the
      litigation;

   U. whether the applicant’s cases have survived motions to dismiss;

   V. the extent to which the applicant contributed to the work product used for the common
      benefit of opioids litigants, including, without limitation, work on ARCOS data,
      Prescription Data Monitoring Programs, IQVIA data, depositions, document production,
      analysis experts, motions, briefs and pleadings, trial preparation and trials;

   W. the extent to which litigation was done prior to and contributed to completion of settlement
      negotiations, as distinct from litigation that was done litigating after the announcement of
      the Settlement Agreements, such latter litigation both being of less value and potentially
      resulting in a common detriment to the settlement process; and

   X. any other factors that the Fee Panel finds to be appropriate to consider after input from
      applicants to the Attorney Fee Funds.


       The Court notes that the goal of the Settlement Agreements is to provide for maximum

participation by the Subdivisions, maximum abatement funding for all Subdivisions nationally,

and maximum peace for Released Entities. Therefore, representing a Non-Participating State, a

Non-Participating Subdivision, or a Later Litigating Subdivision does not further the goal of the

Settlements, should not be considered Common Benefit, and shall be considered an adverse impact

on the attempt to maximize funds available to Participating Subdivisions’ abatement programs.

The Fee Panel shall consider this concept of “common detriment” set forth in Exhibit R of the

Settlement Agreements in all of its decision making.

       To the extent an applicant has already been paid or expects to be paid a fee in connection

with a settlement of opioid litigation, the details of such payment must be disclosed to the Arbiters

prior to the issuance of an award. Any applicant claiming that he or she substantially benefited

cases other than those in which he or she entered an appearance as counsel must substantiate those

claims by proffering factual support, such as proper supporting affidavits and other documents.

(See Rubenstein, William B., “Report and Recommendation Addressing Motion for Common


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Benefit Fund,” 4 & 4 n.5, In re: Nat’l Prescription Opiate Litig., Case: 1:17-md-02804, Doc #:

3319 (June 3, 2020).)

       Other than as set forth above, fees allocated and awarded to applicants from the Funds

outlined herein shall not be subject to any additional common benefit order, including the common

benefit order herein, or other effort to tax recoveries awarded by the Fee Panel for Fees.

 V.    Description of Fund Procedures

       Because it is anticipated there will be multiple firms listed on contingent fee agreements

with Litigating Subdivisions, the Court directs the Fee Panel to establish procedures, with input

from Attorneys for Participating Litigating Subdivisions, addressing who should petition for fees

from such groups and to whom the fee shall be paid and thereafter distributed to all co-counsel in

accordance with applicable agreements.

       The Court charges the Fee Panel to: (1) review the applications of all Attorneys seeking

compensation from the Common Benefit Funds, including determining eligibility for each

Attorney as set forth above in Section II.G. of Exhibit R to the Settlement Agreements; (2) reduce

the Settling Defendants’ payment obligations, as set forth in Section II.E.5 of Exhibit R of the

Settlement Agreements, and inform the Settling Defendants and the MDL Fee Committee of all

such amounts and adjust the Settling Defendants’ payment obligations accordingly; and (3) using

criteria set forth in Section II.C. and II.H of Exhibit R of the Settlement Agreements, allocate

amounts from the Common Benefit Fund to eligible Attorneys, including payment amounts for

each Payment Year.

       With respect to the Contingency Fee Funds, the Court hereby charges the Fee Panel to: (1)

review the applications of all applicants seeking compensation from the Contingency Fee Funds,

including determining eligibility for each Attorney as set forth in Section II.G of Exhibit R to the



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Settlement Agreements; (2) apply the Mathematical Model described in and attached to Exhibit R

to the Settlement Agreements; and (3) use such allocations to reduce, on an annual basis, the

payment obligations of the Settling Defendants to the Funds as set forth in Sections II.D.3 and

II.D.4 of Exhibit R to the Settlement Agreements, and distributions therefrom; and to inform the

Settling Defendants and the MDL Fee Committee of all such adjustments.

VI.    Cost and Expense Fund

       As more fully set forth in Section II of Exhibit R to the Settlement Agreements, and as

summarized herein, the Parties have agreed that each of the Settling Defendants will make a

$7,500,000.00 payment directly into the agreed-upon MDL Expense Fund. Each of the Settling

Defendants have likewise agreed to make payments totaling $22,500,000 into a Subdivision Cost

and Expense Fund, as set forth in Exhibit R to the Settlement Agreements. Litigating Subdivisions

are those subdivisions that have commenced their lawsuits as follows:

       As of the Initial Subdivision Participation Date as defined in the CVS Settlement

Agreement and are Participating Subdivisions;

       As of the Threshold Subdivision Participation Date, as defined in the Walmart Settlement

Agreement and are Participating Litigating Subdivisions;

       As of the Threshold Subdivision participation Date as defined in the Walmart Settlement

Agreement and are Participating Subdivisions.

       The MDL Expense Fund and the Subdivision Cost and Expense Fund shall be treated as

sub-funds of the “qualified settlement fund” (the “Cost Fund”), to be administered by the Court-

appointed Cost Fund Administrator David R. Cohen, who would be authorized to retain and utilize

accountants and/or other professionals and vendors, as necessary and appropriate, to assist in the

administration and distribution of the Cost Fund and its sub-funds, pursuant to the terms of the



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Exhibit R (including without limitation determining any reductions under Section II.E.4 of the

Exhibit R). All expenses of Cost Fund administration shall be borne by the Cost Fund.

VII.    Common Benefit Assessment of Non-Participating Subdivisions

        The PEC seeks, and the Attorneys General for Settling States and the Settling Defendants

do not oppose, a Common Benefit Fee Order of 7.5% on the gross recovery of any Non-

Participating Subdivision in a Non-Settling State that is subject to this Court’s jurisdiction,

represented by a MDL PEC firm or a firm receiving a Common Benefit Fee, or one in which

counsel signed a Participation Agreement. Such assessments would be paid by such Non-

Participating Subdivision into the MDL Common Benefit Fund. 6

        For the avoidance of doubt, as applicable to settlements under the Settlements with the

Settling Defendants, the payment obligations under this Court’s prior orders approving common

benefit assessments (ECF 4428 and ECF 3794) are superseded and this Order shall control the

Common Benefit Fee payment obligations applicable to settlements with Non-Participating

Subdivisions going forward.




6
 See e.g., In re Gadolinium-Based Contrast Agents Prods. Liab. Litig., case no. 08-GD-50000, docket no.
277 (N.D. Ohio Feb. 20, 2009) (setting a 6% common benefit assessment – 5.0% for fees and 1.0% for
expenses); In re Sulzer Hip Prosthesis & Knee Prosthesis Liab. Litig., 268 F. Supp. 2d 907, 919 n.19 (N.D.
Ohio 2003) (setting a 5.5% common benefit assessment – 4.8% for fees and 0.7% for expenses); In re
Avandia Marketing, Sales Practices and Prods. Liab. Litig., 2012 WL 6923367 at *1 (E.D. Pa. Oct. 19,
2012) (awarding common benefit fees and expenses after having set a 7% assessment); In re Vioxx Prods.
Liab. Litig., 760 F. Supp. 2d 640, 661 (E.D. La. 2010) (awarding 6.5% of the total settlement amount for
common benefit fees); In re Juul Labs, Inc., Mktg., Sales Prac., and Prods. Liab. Litig., MDL No. 2913
(N.D. Cal.) ECF No. 586 (CMO No. 5(A)) (7%-10%); In re Xarelto (Rivaroxaban) Prods. Liab. Litig.,
MDL No. 2592, ECF No. 17634 (12% fees, 2.75% expenses); In re Syngenta AG MIR162 Corn Litig.,
MDL No. 2591 (D. Kan.) ECF No. 936 (7.5%-14%); In re Davol, Inc./C.R. Bard, Inc. Polypropylene
Hernia Mesh Products Liability Litig., 2:18-md- 02846-EAS-KAJ (“Hernia Mesh”) ECF No. 70 (CMO No.
11) (10% fees, 3% expenses); In re E. I. Dupont De Nemours & Co. C-8 Pers. Injury Litig., MDL No. 2433
(S.D. Ohio) 2018 WL 4810290 (S.D. Ohio 2018) (9%); In re Aredia and Zometa Prods. Liab. Litig., MDL
1760 (3:06-md-1760) (M.D. Tenn.) (ECF No. 593, Aug. 30, 2007) (8%).


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       Early in this MDL, the PEC sought, over the objection of the United States Drug

Enforcement Agency (“DEA”), the production to MDL plaintiffs of data compiled in the DEA’s

Automated Records and Consolidated Orders System/Diversion Analysis and Detection System

(“ARCOS/DADS”) database. The Court ordered the DEA to produce complete transactional

ARCOS data for the period of January 1, 2006 through December 31, 2014, first for six states

(Ohio, West Virginia, Illinois, Alabama, Michigan, and Florida), and then for the remaining States

and Territories, in a series of Orders, governing its production and use under its Protective Order

(Doc # 167) See, e.g., Order Regarding ARCOS Data ( Doc # 233, 04/11/18); Second Order

Regarding ARCOS Data ( Doc # 397, 05/08/18); Third Order Regarding ARCOS Data ( Doc #668,

06/26/18).

       The ARCOS data produced to the PEC in essentially raw form was organized,

programmed, and analyzed by the PEC and the resulting detailed data, which readily shows “ the

number of opioid pills delivered to each City and County in America, partitioned by manufacturer

and distributor and pharmacy,” has proved “essential” in enabling the parties to file and amend

complaints, design discovery, bring and defend motions, develop damages and abatement models,

inform experts, prepare for trial, and engage in meaningful settlement discussions. See Second

Order Regarding ARCOS Data, Doc #397 at p. 2. The indispensable nature of this common fund

of data, as produced to, organized in, and protected by this Court, vests it with a centrality to the

nationwide opioids litigation unmatched in other MDLs. The initial and ongoing efforts of the PEC

to obtain, organize and analyze, and make it available in meaningful and useable form to litigants

provides a uniquely beneficial and indispensable resource to opioids litigants. The costs to develop

this common resource may and should be equitably spread among all beneficiaries.




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       This Court, which has ongoing jurisdiction over the ARCOS data produced by the DEA,

as organized, analyzed, and made available by the PEC and as made available subject to this

Court’s protective and case management Orders, has the authority and may exercise the discretion

to condition the use of this data by all parties to the MDL and their counsel, and all litigants and

their counsel (other than the States) who wish access to it for use in their non-MDL investigations

and cases, upon the imposition of a back-end, contingent assessment of 7.5% of their recoveries

from any judgments or settlements not part of settlements otherwise providing for contributions

into a Court-supervised MDL Common Benefit Fund, with such 7.5% assessment payable from

the attorneys’ fee portions of such recoveries.

       WHEREFORE, as set forth in detail above, the Court grants the Agreed Motion of the PEC

and the Settling Defendants, and hereby:

   A. Consents to take continuing jurisdiction over the Funds and the Cost Fund pursuant to
      Treasury Regulation Section 1.468Bl (c)(1);

   B. Appoints Messrs. David R. Cohen and David R. Herndon, and Ms. Randi S. Ellis to a Fee
      Panel to oversee a process for allocation and distribution of the MDL Contingency Fee
      Funds and the Common Benefit Funds consistent with this agreed motion and the terms of
      the Settlement Agreements and Exhibits R and Exhibits G thereto;

   C. Establishes the Funds, comprised of sub-funds the Contingency Fee Funds and the
      Common Benefit Funds, as described in and pursuant to the Settlement Agreements and
      Exhibits R, and appoints David R. Cohen as Administrator or Trustee to oversee the Funds;

   D. Establishes the Cost Fund, comprised of sub-funds the MDL Expense Fund and the
      Subdivision Cost and Expense Fund, as described in and pursuant to the Settlement
      Agreements and Exhibits R, and appoints David R, Cohen as Cost Fund Administrator;
      and

   E. Supersedes the payment obligations in ECF 4428 and ECF 3794 as applicable to Settling
      Defendants and Participating Subdivisions and approves an MDL Common Benefit
      assessment against the Non-Participating Subdivisions in a Non-Settling State of 7.5% of
      their gross recoveries from any judgments or settlements not part of settlements otherwise
      providing for contributions into a Court-supervised MDL Common Benefit Fund, with
      such 7.5% assessment payable only from the attorneys’ fee portions of such gross
      recoveries.


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       This Court will enter such further Orders as may be necessary and appropriate regarding

future common benefit assessments paid into the Fund.

It is so ORDERED.

DATED:
                                                             District Judge Dan Aaron Polster




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